       Case 4:20-cv-04262 Document 35 Filed on 01/11/22 in TXSD Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION



 JUAN BALDERAS,                                             §
                                                            §
                                       Petitioner,          §
            v.                                              § ACTION NO.: 4:20-CV-4262
                                                            § JUDGE ALFRED H. BENNETT
                                                            §
 BOBBY LUMPKIN,                                             §
                                                            § DEATH PENALTY CASE
   Director, Texas Department of Criminal                   §
 Justice,                                                   §
   Institutional Division,                                  §
                                       Respondent.


         NOTICE OF ERRATA RE JUAN BALDERAS’S MOTION FOR
  AN EXTENSION OF TIME TO FILE AN AMENDED HABEAS CORPUS PETITION


        Petitioner Juan Balderas, by and through undersigned counsel, hereby files this Notice of

Errata regarding his motion for a 90-day extension of time to file his amended habeas corpus

petition.

        Page three of Mr. Balderas’s Motion stated that “Dr. Ouaou was not able to conduct an

in-person neurological evaluation until October 15, 2021.” (ECF 33 at 3.) This sentence is

corrected to read: “Dr. Ouaou was not able to conduct an in-person neurological evaluation until

September 23, 2021.” The discrepancy was a typographical error. (See Silverman Suppl. Decl. ¶

2.).

Dated: January 11, 2022                      Respectfully submitted,

                                             DLA PIPER LLP (US)

                                             By: /s/ Ashley Allen Carr

 Jeffrey E. Tsai**                                   Ashley Allen Carr (Tex. Bar No. 24082619)*

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     Case 4:20-cv-04262 Document 35 Filed on 01/11/22 in TXSD Page 2 of 2




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* Attorney-in-charge as required by Local Rule 11.3
** Admitted Pro Hac Vice




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